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         EXHIBIT 1
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Table C-1.
U.S. District Courts––Civil Cases Commenced, Terminated, and Pending
During the 12-Month Period Ending March 31, 2023

                                    Total                                           U.S. Cases                                     Private Cases

     Circuit
      and
     District     Filed           Terminated        Pending         Filed           Terminated     Pending         Filed            Terminated     Pending

       Total           284,220         338,983         583,543         43,466             45,289       39,667        240,754             293,694      543,876


DC                        3,931          3,688           4,548              2,678          2,489        2,786              1,253           1,199        1,762
       1st                5,173          5,217           9,490              1,031          1,055        1,058              4,142           4,162        8,432
ME                         506               445              420            126            104              107            380              341             313
MA                        2,833          2,882           3,291               410            414              399           2,423           2,468        2,892
NH                         669               425         3,948               202            121              166            467              304        3,782
RI                         452               552              623            103            117               88            349              435             535
PR                         713               913         1,208               190            299              298            523              614             910
       2nd              25,498          26,748          28,664              5,653          6,421        4,777         19,845              20,327       23,887
CT                        1,659             1,862        1,824               343            379              276           1,316           1,483        1,548
NY,N                      1,759             1,872        1,689               413            562              365           1,346           1,310        1,324
NY,E                      8,719             8,131        9,428              2,873          2,683        1,754              5,846           5,448        7,674
NY,S                    11,418          12,381          12,697              1,224          1,474        1,141         10,194              10,907       11,556
NY,W                      1,719             2,250        2,760               708           1,220        1,171              1,011           1,030        1,589
VT                         224               252              266             92            103              70             132              149             196
       3rd              22,053          24,083          76,404              2,624          2,878        2,563         19,429              21,205       73,841
DE                        1,638          1,878           1,895                60             72               76           1,578           1,806        1,819
NJ                        9,114          9,554          62,015              1,090          1,218             851           8,024           8,336       61,164
PA,E                      6,084          7,371           6,944               542            609              746           5,542           6,762        6,198
PA,M                      2,212             2,349        2,484               640            656              558           1,572           1,693        1,926
PA,W                      2,877             2,731        2,632               271            306              232           2,606           2,425        2,400
VI                         128               200              434             21             17              100            107              183             334
       4th              19,337          17,161          21,736              5,185          4,654        5,237         14,152              12,507       16,499
MD                        3,638             4,013        4,047               938           1,092             879           2,700           2,921        3,168
NC,E                      2,475             1,707        2,506              1,367           644         1,405              1,108           1,063        1,101
NC,M                      1,184             1,204             912            446            432              324            738              772             588
NC,W                      1,205             1,361             895            305            409              206            900              952             689
SC                        4,931          3,252           7,242               535            624              598           4,396           2,628        6,644



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VA,E                    3,042    3,019      2,481      602       581       510       2,440       2,438    1,971
VA,W                    1,258    1,151      1,047      221       253       230       1,037        898      817
WV,N                     816      723        609       458       406       255        358         317      354
WV,S¹                    788      731       1,997      313       213       830        475         518     1,167
        5th            34,353   40,035     42,406     3,483     3,660     3,084     30,870      36,375   39,322
LA,E                    5,352    9,110     16,423      163       156       144       5,189       8,954   16,279
LA,M                    1,205     976       1,270       59        56        91       1,146        920     1,179
LA,W                    5,807    4,242      6,098      214       199       313       5,593       4,043    5,785
MS,N                     744      807        561       283       251       150        461         556      411
MS,S                    1,471    1,630      1,334      171       198       167       1,300       1,432    1,167
TX,N                    5,384    9,285      3,937      935      1,057      663       4,449       8,228    3,274
TX,E                    3,194    3,093      3,176      311       408       386       2,883       2,685    2,790
TX,S                    6,407    6,015      5,656      754       766       660       5,653       5,249    4,996
TX,W                    4,789    4,877      3,951      593       569       510       4,196       4,308    3,441
        6th            18,081   16,413     38,261     2,916     3,118     2,708     15,165      13,295   35,553
KY,E                    1,082    1,381      1,016      381       402       291        701         979      725
KY,W                    1,201    1,275      1,347      172       223       158       1,029       1,052    1,189
MI,E                    3,229    3,482      3,457      449       438       416       2,780       3,044    3,041
MI,W                    1,600    1,584      1,102      219       243       124       1,381       1,341     978
OH,N                    2,568    2,535      5,660      723       672       606       1,845       1,863    5,054
OH,S                    4,945    2,650     21,971      513       596       537       4,432       2,054   21,434
TN,E                     984     1,080      1,007      163       199       179        821         881      828
TN,M                    1,324    1,255      1,310      140       138       152       1,184       1,117    1,158
TN,W                    1,148    1,171      1,391      156       207       245        992         964     1,146
        7th            21,330   19,635     31,354     2,964     3,470     2,897     18,366      16,165   28,457
IL,N                    8,175    7,979      9,946     1,287     1,471     1,385      6,888       6,508    8,561
IL,C                    1,364    1,309      1,646      181       173       235       1,183       1,136    1,411
IL,S                    3,591    1,332      4,838      228       280       243       3,363       1,052    4,595
IN,N                    2,104    2,243      1,863      383       499       316       1,721       1,744    1,547
IN,S                    3,665    4,034     10,666      457       532       390       3,208       3,502   10,276
WI,E                    1,624    1,735      1,596      232       313       174       1,392       1,422    1,422
WI,W                     807     1,003       799       196       202       154        611         801      645
        8th            11,839   12,122     14,830     2,375     2,456     1,971      9,464       9,666   12,859
AR,E                    1,942    2,000      1,643      363       323       286       1,579       1,677    1,357
AR,W                     877      899        693       239       297       211        638         602      482
IA,N                     413      446        332       130       131        88        283         315      244
IA,S                     537      531        459       138       102       133        399         429      326




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MN                      3,263     3,232      7,524      496       416       396       2,767        2,816     7,128
MO,E                    1,673     1,857      1,507      252       392       246       1,421        1,465     1,261
MO,W                    1,858     1,903      1,335      408       446       329       1,450        1,457     1,006
NE                       717       683        625       194       191        83        523          492       542
ND                       238       215        308        84        58       103        154          157       205
SD                       321       356        404        71       100        96        250          256       308
       9th             42,846    41,923     45,101     8,568     8,424     7,321     34,278       33,499    37,780
AK                       453       495        361        87       105       119        366          390       242
AZ                      3,176     3,267      2,805      818       904       672       2,358        2,363     2,133
CA,N                    8,523     7,107     12,746      844       769       666       7,679        6,338    12,080
CA,E                    3,982     4,070      5,812      787       952      1,015      3,195        3,118     4,797
CA,C                   14,038    13,953     10,270     3,130     2,803     2,135     10,908       11,150     8,135
CA,S                    2,369     2,404      2,213      412       431       370       1,957        1,973     1,843
HI                       606       632        485       144       123       119        462          509       366
ID                       530       562        664       105       130       121        425          432       543
MT                       580       603        624        96       125       122        484          478       502
NV                      2,675     2,869      3,330      252       254       373       2,423        2,615     2,957
OR                      1,982     2,229      2,359      482       473       640       1,500        1,756     1,719
WA,E                     909       931        684       509       551       340        400          380       344
WA,W                    2,977     2,744      2,412      896       796       618       2,081        1,948     1,794
GU                        26        31        286         3         4         8         23           27       278
NMI                       20        26         50         3         4         3         17           22        47
       10th             9,068     9,565      9,167     1,660     1,891     1,730      7,408        7,674     7,437
CO                      3,377     3,413      2,968      458       443       410       2,919        2,970     2,558
KS                      1,254     1,351       935       217       247       224       1,037        1,104      711
NM                      1,024     1,142      1,235      198       306       243        826          836       992
OK,N                     569       681        624       145       166       150        424          515       474
OK,E                     412       418        491       144       189       189        268          229       302
OK,W                    1,130     1,100      1,076      235       216       216        895          884       860
UT                      1,051     1,192      1,452      232       284       255        819          908      1,197
WY                       251       268        386        31        40        43        220          228       343
       11th            70,711   122,393    261,582     4,329     4,773     3,535     66,382      117,620   258,047
AL,N                    1,699     1,839      1,960      293       341       365       1,406        1,498     1,595
AL,M                     788       994        977       110       182       175        678          812       802
AL,S                     496       558        505        62        80        77        434          478       428
FL,N                   31,241    79,326    240,988      114       151       122      31,127       79,175   240,866
FL,M                    8,626     9,004      6,227     1,658     1,695     1,388      6,968        7,309     4,839




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FL,S                        19,561            19,821              3,883               876               927               497            18,685            18,894             3,386
GA,N                          6,133             8,360             5,333               777               877               594             5,356             7,483             4,739
GA,M                          1,172             1,249               958               196               229               170               976             1,020               788
GA,S                            995             1,242               751               243               291               147               752               951               604

NOTE: The number of pending cases in this report includes cases that have been transferred under a Multidistrict Litigation (MDL) order. Large numbers of civil cases may be
temporarily assigned by the Judicial Panel on Multidistrict Litigation to a district judge for pretrial management. As MDL cases vary greatly among districts, it is advisable to
check with the relevant district court before drawing statistical conclusions about the number of pending cases for that district.
¹ The higher number of pending cases reported for the Southern District of West Virginia is the result of reconciliation efforts conducted for pretrial management for the three-
month period ending June 30, 2018.




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